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                        Nos. 23-1362, 23-1667, 23-2041


              United States Court of Appeals
                 for the Federal Circuit
             VROOM, INC., VROOM AUTOMOTIVE, LLC, dba
              Vroom, dba Texas Direct Auto, CARSTORY, LLC,
                      VAST.COM, INC., dba CarStory,
                            Plaintiffs-Appellees

                                        v.

                       SIDEKICK TECHNOLOGY, LLC,
                            Defendant-Appellant

  Appeal from the United States District Court for the District of New Jersey in
            No. 2:21-cv-06737-WJM-JSA, Judge William J. Martini.

     DEFENDANT-APPELLANT SIDEKICK TECHNOLOGY, LLC’S
                                REPLY BRIEF


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Date: March 22, 2024
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                                 INTRODUCTION

       Dismissal under Rule 12 requires a finding that a cause of action is not

plausible after accepting as true all facts plead by the non-movant and drawing all

reasonable inferences in favor of the same. Fowler v. UPMC Shadyside, 578 F.3d

203, 209-11 (3d Cir. 2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007);

Ashcroft v. Iqbal, 556 U.S. 662 (2009)); In re Bill of Lading, 681 F.3d 1323, 1331-

32 (Fed. Cir. 2012) (discussing Iqbal and Twombly). “[A] well-pleaded complaint

may proceed even if it strikes a savvy judge that actual proof of those facts is

improbable, and that a recovery is very remote and unlikely.” Twombly, 550 U.S. at

556.

       The record below (including the pleadings and reasonable inferences drawn

therefrom) contains factual allegations and inferences that support a finding of patent

eligibility, i.e., that the eligibility of the patents-in-suit is plausible when the

plausibility standard is correctly applied. In failing to accept as true certain factual

allegations—primarily, statements made in the specification of the patents-in-suit

and in the prosecution history—the district court fundamentally erred in determining

the eligibility of the patents-in-suit. The district court found facts and drew

inferences against the non-movant, Sidekick, and in favor of ineligibility. In so

doing, the district court invalidated 405 claims belonging to 3 patent lineages

encompassing 12 patents—10 of which issued after Alice—in total without



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providing Sidekick the opportunity to develop the extrinsic record through fact and

expert discovery.

      In response to Sidekick’s opening brief, Vroom makes a series of flawed

arguments to defend the faulty reasoning that pervades the district court’s decision.

First, Vroom argues that rulings based on only the intrinsic record are purely legal

determinations devoid of fact finding. But this argument contradicts precedent from

both the Supreme Court and this Court that the eligibility analysis includes factual

determinations even if the ultimate decision is a matter of law. E.g., Berkheimer v.

HP Inc., 881 F.3d 1360, 1368 (Fed. Cir. 2018) (recognizing that “whether a claim

recites patent eligible subject matter is a question of law which may contain

underlying facts” with support from and analysis of Mayo Collaborative Servs. v.

Prometheus Labs., Inc., 566 U.S. 66 (2012) and Alice Corp. v. CLS Bank Int’l, 573

U.S. 208, 215 (2014)).

      Vroom then presents erroneous arguments about Sidekick’s position. For

example, Vroom argues that Sidekick failed to present the district court with any

evidence in support of eligibility, arguing Sidekick has forfeited the right to present

its evidence to this Court. See, generally, ECF No. 36. This argument is belied by

the record below: Sidekick clearly and consistently relied upon the intrinsic record

to assert eligibility before the district court. Appx404-433. Further, Sidekick has not

presented any argument to this Court that was not also presented below. Compare



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id., with ECF No. 30 at 12-30. Vroom also argues that the intrinsic evidence Sidekick

presented to the district court should be ignored by this Court because it is self-

serving. Not only does this directly contradict Vroom’s claim that Sidekick failed to

present this evidence below, but Vroom’s argument also contradicts decades of

binding Supreme Court authority that at the pleadings stage, all factual allegations

are to be accepted as true with the exception of conclusory statements and threadbare

recitals. Iqbal, 556 U.S. at 678.

      That Vroom lacks any basis to justify the district court’s decision is apparent

given that it resorts to false (and irrelevant) claims that Sidekick is a non-practicing

entity. See ECF No. 36 at 3 (Sidekick “owns several patents, but alleges no business

of its own other than the development of ‘technology,’ acquisition of patents, and

assertion of patents.”). Not only is the inference Vroom seeks untrue, Sidekick’s

business practices are immaterial to the issue before the Court—i.e., whether

Sidekick’s asserted patent claims plausibly recite patent eligible subject matter.

      The question before this Court is simple: whether the district court improperly

resolved factual disputes on a Rule 12 motion in favor of Vroom. As highlighted

below, factual disputes existed before the district court at both steps of the eligibility




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analysis.1 At step one, the parties disputed claim representativeness and claim

characterization. At step two, the parties disputed whether the claims recited

something more than well-understood, routine, and conventional activities. At each

step, the district court resolved disputes of fact against Sidekick and largely ignored

intrinsic evidence. As a result, the district court’s decision should be reversed and

the case remanded for further proceedings.

                                     ARGUMENT

I.      Reliance On The Intrinsic Record Does Not Preclude The Existence Of
        Disputed Facts Favoring The Non-Movant

        Vroom begins its response asserting there are no facts in dispute because the

district court’s decision relied entirely on the intrinsic record and was thus a purely

legal determination without fact finding subject to de novo review. ECF No. 36 at

16-26. Vroom reaches this fundamentally flawed conclusion based upon cases

relating to appellate review of claim construction or prosecution history estoppel.


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     While this Court has not explicitly stated that step 1 includes “determinations of
     fact,” this Court certainly recognizes the existence of subsidiary inquiries that a
     court may make when determining whether a claim is directed to an abstract idea
     that can only be described as “determinations of fact.” These subsidiary inquiries
     include but are not limited to (1) claim representativeness, (2) claim
     characterization, and (3) what the intrinsic record asserts to be the claimed
     advance. See, e.g., Content Extraction & Transmission LLC v. Wells Fargo Bank,
     776 F.3d 1343, 1348 (Fed. Cir. 2014) (reviewing district court’s determination of
     claim representativeness as part of step 1 analysis); TecSec, Inc. v. Adobe Inc.,
     978 F.3d 1278, 1294 (Fed. Cir. 2020) (identifying claim “characterization” and
     “what the patent asserts to be the claimed advance” as subsidiary inquiries under
     step 1).

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Id. at 17-22 (citing Markman v. Westview Instruments, Inc., 517 U.S. 370, 388-89

(1996); Bio-Rad Lab’ys, Inc. v. 10X Genomics Inc., 967 F.3d 1353, 1364 (Fed. Cir.

2020); Teva Pharms. USA, Inc. v. Sandoz, Inc., 574 U.S. 318, 319-20 (2015)).

      While Sidekick agrees as a general matter that when the district court relies

on extrinsic evidence to resolve a fact dispute, appellate courts apply the clear error

standard on that discrete issue (see, e.g., Teva Pharms, 574 U.S. at 333 (“[T]o

overturn the judge’s resolution of an underlying factual dispute, the Court of Appeals

must find that the judge, in respect to those factual findings, has made a clear

error.”)), Sidekick disputes that Vroom’s cited authority controls the outcome of this

appeal. Vroom takes this precedent a step too far by asserting that de novo review

automatically means an absence of factual disputes or factual allegations rendering

judgment on the pleadings necessarily appropriate. E.g., ECF No. 36 at 2 (“The

district court’s legal analysis of the intrinsic record does not constitute factfinding”);

id. at 20 (“Teva makes clear—factual issues that prevent a dismissal arise only from

extrinsic evidence, and rulings based on only intrinsic evidence are purely legal

determinations.”) (citing Teva, 574 U.S. at 319-20). Vroom’s cited authority

provides no support for this conclusion.

      Further, Vroom’s conclusion is contradicted by every opinion of this Court in

which this Court has remanded a case because the district court did not accept as

true the non-movant’s factual allegations or otherwise engaged in factual



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determinations. This Court’s precedent makes clear that factual disputes can (and

do) arise that necessitate remand to the lower court, even when the lower court

considers only the intrinsic record. See, e.g., Cellspin Soft, Inc. v. Fitbit, Inc., 927

F.3d 1306, 1317-19 (Fed. Cir. 2019) (dismissal under step two inappropriate because

it required a determination of which techniques were “well-known or conventional”

in the prior art); Berkheimer, 881 F.3d at 1368-70 (summary judgment appropriate

for some claims based solely on intrinsic evidence and summary judgment

inappropriate where the court needed to make a factual determination about whether

the technology covered by the patent was “well understood, routine, and

conventional” which required extrinsic evidence). Thus, Vroom’s reliance on its

cited authority is misplaced and does not dictate the outcome of this appeal.

II.   Vroom Fails To Justify The District Court’s Decision That A Single
      Claims Was Representative of 405 Different Patent Claims

      The question before this Court is whether the district court improperly

resolved factual disputes on a Rule 12 motion when it found 405 claims across

twelve patents ineligible based on a single claim from the ’984 Patent. On this point,

Sidekick’s opening brief identified a series of factual allegations that generated

factual disputes at each step of the subject-matter eligibility analysis that the district

court improperly resolved against Sidekick on motion under Rule 12(c). Vroom’s

attempt to explain away the district court’s decision falls well short of the mark.




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       With respect to representativeness, Vroom’s response fails to address

Sidekick’s argument on appeal at all: Sidekick argued in its opening brief that a court

should adopt the non-moving party’s position (Sidekick’s) when proceeding through

the eligibility analysis, and by not doing so, the district court resolved a factual

dispute as to which claims are representative against Sidekick. ECF No. 30 at 14

(citing Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121, 1125

(Fed. Cir. 2018)). Vroom’s response talks pasts this point and provides arguments

not relevant to the points in Sidekick’s opening brief. See ECF No. 36 at 53-55.

Given this failure to address Sidekick’s central argument as to representativeness,

Vroom provides no basis for this Court to affirm the flawed decision below.

Furthermore, by finding claim 1 of the ’984 Patent representative of 405 claims

despite Sidekick’s protestations and factual arguments below, the district court

improperly resolved this factual dispute against Sidekick, the non-movant, on a Rule

12 motion.

III.   Vroom’s Response Confirms The District Court Erroneously Resolved
       Factual Disputes Against Sidekick

       As it did in the district court, Vroom’s response offers patent eligibility

arguments that rely upon different portions of the intrinsic record, which only

underscores the existence of factual disputes at each step of the eligibility analysis

below. Presented with these disputes, the district court resolved them in favor of

Vroom, the movant, and not Sidekick, the non-movant.


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         A.    At Alice Step One, The District Court Erred In Failing To Consider
               The Claims In Light Of the Intrinsic Record

        The district court erred at Alice step one when it failed to accept Sidekick’s

characterization of the claims and failed to consider the claims as a whole in light of

the specification and the prosecution history, all of which are relevant in the

“directed to” analysis. E.g., CardioNet, LLC v. InfoBionic, Inc., 955 F.3d 1358,

1372-73 (Fed. Cir. 2020); TecSec, 978 F.3d at 1292, 1295-96.

        Claim 1 recites a “manufacturer interface” that allows the manufacturer to

interact with the consumer, and a “manufacturer response,” which is communicated

from the manufacturer to the consumer via the consumer interface. Appx891 (cl. 1).

        The specification makes clear that allowing the manufacturer to participate in

the automobile transaction solves a problem with prior art systems. See, e.g.,

Appx882 (1:17-37); Appx4222 (citing to the intrinsic record before the district

court). Starting with the background, the ’984 Patent provides that when purchasing

an automobile, “the negotiation process is a zero sum process, and because the

consumer and the dealer are each trying to get a better deal, there is typically some

lack of trust during the negotiation.” Appx882 (1:25-27). Furthermore, the

background recognizes that “automobile manufacturer also have an interest in the



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    Although the citation here is to the ’925 Patent, the ’984 and ’925 both identify the
    same problem and are incorporated by reference into each other. See Appx882
    (1:8-34) & Appx925 (1:8-33).

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market prices for automobiles, because the market activity captured as automobile

market information may allow the manufacturer to, for example, more profitably

determine which automobiles to manufacture, what prices the manufacture should

offer to dealers, and whether manufacturer incentives should be offered on existing

dealer automobile inventory.” Appx882 (1:44-51). Thus, the prior art was a zero sum

struggle between the consumer and the dealer with the manufacturer sitting on the

sidelines without any means of participating.

      To resolve this problem, the specification discloses a specific means of

improving the relevant technology: a “new and innovative system, methods and

apparatus for providing automobile market information and performing automobile

transactions” that allows a consumer to “provide a request for a manufacturer

response indicating whether a specific automobile can be provided.” Appx882 (1:55-

64); see also, e.g., Appx403-04 & Appx424-25 (citing to the intrinsic record before

the district court). The new and innovative system allows the manufacturer to receive

market data and respond to a consumer directly. Appx882 (1:64-2:1); see also, e.g.,

Appx424-25 (citing portions of the prosecution history before the district court that

state the same proposition). By allowing a consumer, dealer, and manufacturer to

participate in the negotiation process via a manufacturer interface, the ’984 Patent

provides a specific improvement to previous networks that facilitated automobile

transactions. According to the specification, through this specific improvement, a



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consumer “may benefit from more competition pricing, piece of mind knowing that

a fair market price is being offered for prospective purchases, and improved delivery

options that allow the consumer to weigh the benefits and drawbacks of different

delivery options, pricing, and other variables.” Appx889 (15:11-16); see also, e.g.,

Appx430-31 (citing to statements in the prosecution history before the district court).

Finally, the specification provides that the recited system and methods lead to

benefits over the prior art: “The integration of the various types of automobile market

data 506 received from the consumer interface 304, dealer interface 306, and

manufacturer interface 308 may provide a synergistic and optimal resource for

consumers, dealers, and manufacturers alike.” Appx889 (16:29-33); see also, e.g.,

Appx412 (citing the same portion of the intrinsic record before the district court).

Thus, the specification supports a finding that the manufacturer interface is a claimed

advance over prior art networks. TecSec, 978 F.3d at 1292.

      The prosecution history reinforces that the manufacturer’s interface is the

claimed advance. See Appx424-25 (citing Appx509). For example, in an appeal brief

filed during the prosecution of the ’984 Patent, Sidekick explained:

      [T]he present application discloses a system that includes a consumer
      interface 304, a dealer interface 306, and a manufacturer interface 308,
      which allows consumers, dealers, and manufacturers, to affirmatively
      interact with each other, rather than passively provide information to
      the system. For example, this system allows a manufacturer, using the
      manufacturer interface 308, to provide a response that guarantees that
      a consumer can actually obtain a specific automobile, in contrast to the



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       cited prior art, in which a manufacturer does not ensure that a consumer
       can actually obtain the specific automobile.

Appx509. Thus, the prosecution history also provides further support that the claims

are directed to an advancement over the prior art.3 TecSec, 978 F.3d at 1292.

       The district court found at step one as a subsidiary factual determination that

claim 1 of the ’984 Patent is characterized as “collecting and using automobile

market and user data to facilitate automobile transactions” when Sidekick asserted

that the claim is directed to an improved network to facilitate automobile

transactions as supported by the intrinsic record. Appx410-11 (identifying claim

elements that were not accounted for in Vroom’s characterization of the claims).

Having overgeneralized the claims, the district court readily found the claims to be

directed to an abstract idea that did not involve a “technological improvement or

advance in computer or network functionality.” Appx10. While claim 1 is not

directed to an improvement specifically in the underlying technology of a computer

(e.g., a faster processor or computer), the ’984 Patent facilitates interactions in an

automobile transaction network that were not accounted for in the prior art.

Accordingly, the manufacturer interface was a specific advancement over the prior

art that improves the functioning of a network designed to facilitate an automobile



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    To the extent that Vroom argues that the claims do not recite an advancement
    over the prior art, such arguments are “reserved for §§ 102 and 103” and have no
    weight in an eligibility analysis. Data Engine, 906 F.3d at 1011.

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transaction. Therefore, the district court erred when, on a Rule 12 motion, it

characterized claim 1 of the ’984 Patent to be directed to “collecting and using

automobile market and user data to facilitate automobile transactions.”

       B.    The District Court’s Alice Step Two Analysis

       At step two, the district court disregarded this Court’s jurisprudence holding

“[w]hether the claim elements or the claimed combination are well-understood,

routine, conventional is a question of fact.” Aatrix, 882 F.3d at 1128. Here, as in

Aatrix, step two “cannot be answered adversely to [Sidekick] based on the sources

properly considered on a motion to dismiss, such as the complaint, the patent, and

materials subject to judicial notice.” Id. Statements from the specification and the

prosecution history cited by Sidekick (which are properly considered at the Rule 12

stage) must be considered and accepted as true. Data Engine Techs. LLC v. Google

LLC, 906 F.3d 999, 1007, 1008 n.2 (Fed. Cir. 2018). Nevertheless, the district court

ignored these statements, engaged in factfinding at step two, and resolved factual

disputes against Sidekick. Appx14 (“Some of the specific claim limitations

highlighted by Sidekick are routine, well understood features…”).

      Vroom takes issue that Sidekick offers no extrinsic evidence. See, e.g., ECF

No. 36 at 2 (“Sidekick’s brief nowhere cites any alleged fact from, for example, the

complaint or any extrinsic source.”). However, this argument fails for multiple

reasons. First and foremost, Sidekick asserted below, in its opening brief, and asserts



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again here that the intrinsic record alone establishes the eligibility of the asserted

claims. At a minimum, it created a factual dispute that precluded granting a judgment

on the pleadings. Thus, Vroom’s argument that the claims are somehow ineligible

because Sidekick has not offered specific extrinsic evidence (i.e., extensive factual

allegations in Sidekick’s counterclaims) fails to address Sidekick’s primary

argument on appeal: the district court failed to apply the correct standard when it did

not accept as true statements in the intrinsic record and resolved factual disputes

against Sidekick, the non-movant.

      Second, the parties jointly agreed to stay discovery. ECF No. 36 at 11. Thus,

at no point during the proceedings below did Sidekick have the ability to develop

the extrinsic record through fact and expert discovery.

      Third, Vroom fails to recognize that Sidekick was procedurally precluded

from offering additional extrinsic evidence given that Vroom did not raise invalidity

in its declaratory judgment complaint, which only sought declarations of non-

infringement. Appx37-87. Thus, Sidekick only responded with counterclaims of

infringement as it had no notice that Vroom was challenging the validity of the

patents-in-suit.

      Thus, if the Court agrees with Vroom’s argument, this Court is effectively

requiring that patent owners include extensive pleadings related to validity

preemptively regardless of whether validity is an issue in the case in the off chance



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a party moves under Rule 12. This will not only waste judicial resources and increase

litigation costs, but it contradicts a fundamental tenet of patent law: “A patent shall

be presumed valid.” 35 U.S.C. § 282. Given this fundamental tenet and the

procedural posture in which invalidity was raised for the first time—as an

affirmative defense to a counterclaim—the Court should give little weight (if any)

to Vroom’s argument.

      In sum, Vroom’s “extrinsic evidence” argument should be disregarded by this

Court as Sidekick presented intrinsic evidence that supports a finding of eligibility

as summarized above. Nonetheless, the district court’s analysis overlooked this

intrinsic evidence but for a single citation to the specification. Appx16. Even if the

district court disagreed with Sidekick’s position on the eligibility of these claims, it

is clear that, at a minimum, the record is replete with factual allegations that

precluded granting a Rule 12 motion. Data Engine, 906 F.3d at 1007; see also Aatrix,

882 F.3d at 1125-27; Visual Memory LLC v. NVIDIA Corp., 867 F.3d 1253, 1261-

62 (Fed. Cir. 2017); Cellspin, 927 F.3d at 1316-18.

      Accordingly, Sidekick plausibly alleged that all 405 claims are eligible.

Focusing on claim 1 of the ’984 Patent as the district court did, it is plausible that

this claim possesses an inventive concept based on the intrinsic record alone.

Because the district court did not correctly apply the Rule 12 standard of review,

Sidekick respectfully requests that this Court reverse the district court ruling and



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remand the case to allow Sidekick the opportunity to develop the extrinsic record

through, among other things, fact and expert discovery.

IV.   Sidekick Has Not Forfeited Any Patent Eligibility Arguments

      Vroom makes several attempts to argue that Sidekick has forfeited arguments,

presented new arguments on appeal, and used incorporation by reference to exceed

the word count. Vroom is wrong on all accounts. Sidekick, both below and in its

opening brief, asserted that the focus of claim 1 of the ’984 Patent is allowing the

manufacturer to interact directly with a consumer via the recited systems and

methods in the claims, specifically the “manufacturer interface” as one of the user

interfaces recited in the claims. ECF No. 30 at 16; also Appx410 (asserting, before

the district court, that the asserted claims are directed to: “an improved automobile

sales platform” that uses “specific user interfaces”), Appx422. At step two, Sidekick

asserted, both below and in its opening brief, that the arrangement of interfaces is an

inventive concept that goes beyond the abstract idea. ECF No. 30 at 25; also

Appx424-425. Thus, Sidekick presents the same argument here as it did below.

Finally, Sidekick provides citations to the record below to demonstrate the

consistency between the arguments Sidekick raised below and those it pursues here,

not to subvert this Court’s word limits.




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                                  CONCLUSION

      As the district court applied the wrong standard for a Rule 12(c) motion at

each step of the eligibility analysis, Sidekick respectfully requests that this Court

reverse and remand to the district court in order for discovery to proceed. This will

allow the district court to determine the eligibility of the asserted claims with the

benefit of fact and expert discovery.



Dated: March 22, 2024                   Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on March 22, 2024, a true and correct copy of the

foregoing was electronically filed via the Court’s CM/ECF system and therefore

served on all counsel of record.

                                     /s/ Devon C. Beane
                                     Devon C. Beane




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FORM 19. Certificate of Compliance with Type-Volume Limitations                              Form 19
                                                                                            July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 2023-1362, 2023-1667, 2023-2041

  Short Case Caption: Vroom, Inc. v. Sidekick Technology, LLC

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